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                                    FOR THE DISTRICT OF PUERTO RICO
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 3          UNITED STATES OF AMERICA,

 4          Plaintiff,

 5          v.

 6          COMMONWEALTH OF PUERTO RICO,                             CIVIL NO. 12-2039 (GAG)
            et al.,
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 8          Defendants.

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                                                        ORDER
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                  The Covid-19 pandemic constitutes an unprecedented challenge to how Courts operate to
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     continue serving the ends of justice. Likewise, effective federal consent decree monitoring, which
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     requires to a large extent public visits and meetings, also requires Courts to think outside the box.
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     Fortunately, in 2020 the available technology allows federal courts and their monitors to capably
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     operate.
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                  In light of the above, the Court hereby authorizes and directs the Monitor to use all available
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     technology to continue performing all monitoring functions during the COVID-19 pandemic. This
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     includes, but is not limited to, visits to PRPB facilities, meetings, interviews, as well as community
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     outreach and town hall meetings.
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                  While such steps are to be taken immediately, by May 4th, the Monitor will submit a detailed
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     calendar of any such events. For purposes of town hall meetings sufficient notice shall be given in
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     advance.
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                  PRPB will immediately discuss with the Monitor and USDOJ all available IT mechanisms
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     in order to continue effective monitoring. While indeed updating and purchasing equipment may
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     Civil No. 12-2039 (GAG)


 1   have an added cost, the same is minimal, and there are many options available even with the existing

 2   IT equipment. The Special Master will provide information and advise as to how police departments

 3   nationally have handled monitoring during the pandemic.

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 5          SO ORDERED.

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            In San Juan, Puerto Rico this 17th of April, 2020.
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                                                                s/ Gustavo A. Gelpí
 8                                                              GUSTAVO A. GELPI
                                                             Chief United States District Judge
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